Case 3:15-cv-01450-BJD-MCR Document 1 Filed 12/07/15 Page 1 of 20 PageID 1
Case 3:15-cv-01450-BJD-MCR Document 1 Filed 12/07/15 Page 2 of 20 PageID 2
Case 3:15-cv-01450-BJD-MCR Document 1 Filed 12/07/15 Page 3 of 20 PageID 3
Case 3:15-cv-01450-BJD-MCR Document 1 Filed 12/07/15 Page 4 of 20 PageID 4
Case 3:15-cv-01450-BJD-MCR Document 1 Filed 12/07/15 Page 5 of 20 PageID 5
Case 3:15-cv-01450-BJD-MCR Document 1 Filed 12/07/15 Page 6 of 20 PageID 6
Case 3:15-cv-01450-BJD-MCR Document 1 Filed 12/07/15 Page 7 of 20 PageID 7
Case 3:15-cv-01450-BJD-MCR Document 1 Filed 12/07/15 Page 8 of 20 PageID 8
Case 3:15-cv-01450-BJD-MCR Document 1 Filed 12/07/15 Page 9 of 20 PageID 9
Case 3:15-cv-01450-BJD-MCR Document 1 Filed 12/07/15 Page 10 of 20 PageID 10
Case 3:15-cv-01450-BJD-MCR Document 1 Filed 12/07/15 Page 11 of 20 PageID 11
Case 3:15-cv-01450-BJD-MCR Document 1 Filed 12/07/15 Page 12 of 20 PageID 12
Case 3:15-cv-01450-BJD-MCR Document 1 Filed 12/07/15 Page 13 of 20 PageID 13
Case 3:15-cv-01450-BJD-MCR Document 1 Filed 12/07/15 Page 14 of 20 PageID 14
Case 3:15-cv-01450-BJD-MCR Document 1 Filed 12/07/15 Page 15 of 20 PageID 15
Case 3:15-cv-01450-BJD-MCR Document 1 Filed 12/07/15 Page 16 of 20 PageID 16
Case 3:15-cv-01450-BJD-MCR Document 1 Filed 12/07/15 Page 17 of 20 PageID 17
Case 3:15-cv-01450-BJD-MCR Document 1 Filed 12/07/15 Page 18 of 20 PageID 18
Case 3:15-cv-01450-BJD-MCR Document 1 Filed 12/07/15 Page 19 of 20 PageID 19
Case 3:15-cv-01450-BJD-MCR Document 1 Filed 12/07/15 Page 20 of 20 PageID 20
